                       4:19-cv-04104-SLD-JEH # 13-1             Page 1 of 2
                                                                                                  E-FILED
                                                                 Wednesday, 02 October, 2019 03:01:12 PM
                                                                             Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS

RIKKI GUAJARDO, on behalf of herself, and
all others similarly situated,

                   Plaintiff,

         v.                                        Civil Action No. 4:19-cv-04104-SLD-JEH

SKECHERS USA, INC.,

                   Defendant.


                                        [PROPOSED]
                                          ORDER


         Now, this ____________________________ day of______, upon consideration of

Defendant Skechers USA, Inc.’s Motion to Dismiss Plaintiff’s First Amended Complaint (the

“Motion”), the supporting briefing, and any response thereto,

         IT IS HEREBY ORDERED THAT the Motion is GRANTED.

         IT IS FURTHER ORDERED THAT Plaintiff Rikki Guajardo’s First Amended

Complaint is DISMISSED WITH PREJUDICE.



                                                    BY THE COURT:



                                                    SARA DARROW
                                                    Chief Judge
                                                    United States District Court




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                       IN THE UNITED STATES DISTRICT COURT
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RIKKI GUAJARDO, on behalf of herself, and
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         v.                                         Civil Action No. 4:19-cv-04104-SLD-JEH

SKECHERS USA, INC.,

                   Defendant.


                                CERTIFICATE OF SERVICE


         I, hereby certify that on the 2nd day of October 2019, the foregoing has been served on
all parties via the Clerk of the District Court using the Court’s CM/ECF system.


                                                  /s/ Stephen R. Niemeyer
                                                 Stephen R. Niemeyer
                                                 LEWIS BRISBOIS BISGAARD & SMITH
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                                                 Chicago, Illinois 60661
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4836-3882-2056.1
